Case 2:20-cv-06719-JAK-MRW Document 10 Filed 08/24/20 Page 1 of 1 Page ID #:105




 1   CENTER FOR DISABILITY ACCESS
     Ray Ballister Jr., Esq., SBN 111282
 2   Russell Handy, Esq., SBN 195058
     Dennis Price, Esq., SBN 279082
 3   Amanda Seabock, Esq., SBN 289900
     8033 Linda Vista Road, Suite 200
 4   San Diego, CA 92111
     (858) 375-7385; (888) 422-5191 fax
 5   AmandaS@potterhandy.com

 6   Attorneys for Plaintiff, ORLANDO GARCIA
 7
 8                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
 9
10   ORLANDO GARCIA,                               )   Case No.: 2:20-cv-06719-JAK-MRW
                                                   )
             Plaintiff,                            )
11
                                                   )   NOTICE OF SETTLEMENT AND
       v.                                          )   REQUEST TO VACATE ALL
12
     ESSEX 416 ON BROADWAY, L.P., a                )   CURRENTLY SET DATES
13   California Limited Partnership;               )
     ROBRON ENTERPRISES, a California              )
14   Corporation; and Does 1-10,                   )
                                                   )
15           Defendants.                           )
                                                   )
16                                                 )

17          The plaintiff hereby notifies the court that a global settlement has been reached in
18   the above-captioned case and the parties would like to avoid any additional expense,
19   and to further the interests of judicial economy.
20          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
21   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
22   parties will be filed within 60 days.
23
                                       CENTER FOR DISABILITY ACCESS
24
25   Dated: August 24, 2020            By: /s/ Amanda Seabock
26                                            Amanda Seabock
27
                                              Attorney for Plaintiff

28


     Notice of Settlement             -1-                2:20-cv-06719-JAK-MRW
